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                        Exhibit P
Case 3:22-cv-01976-DMS-SBC Document 22-16 Filed 02/03/23 PageID.1242 Page 2 of 8
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                                MWA Accepting 100,000 New
                              Arbitrations Against Wells Fargo
                             National law firm successfully secured
                              CREST MOOR ome ole MoE
                                   Fargo overdraft arbitrations
                             Wells Fargo thinks they can avoid legal ramifications for
                                   abusive overdraft practices by forcing arbitrations.
                                   McCune          Wright Arevalo, LLP, is here to show them
                                   they're dead wrong. MWA                  has won in hundreds of
                           arbitrations against Wells Fargo over unfair overdraft fees.
                                  Each successful arbitration secured the return of the
                                  client’s fees as well as $1,000.00 in penalties. None of
                            these awards went to attorneys’ fees. Now, MWA                       is ready
                                  for more, taking on 100,000 new arbitrations against
                            Wells Fargo. Any Wells Fargo customer who                     received an
                           overdraft fee within the past 12 months can qualify. Ready
                                  to join MWA             in the fight against financial injustice?
                                  Complete to form today become one of the 100,000
                                        arbitrations bringing the fight to Wells Fargo.




                                           Are you ready to bring arbitrations
                                              against Wells Fargo for unfair

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                                           Are you ready to bring arbitrations
                                             PTE TE   mM Pee Cem Ube Tg
                                                     overdraft fees?


                                           Phone                            Email


                                           —    Practice Area —                     v


                                           — Are you a new client? —


                                           Message




                                           — How did you hear about us? —


                                                                 Send Message




          $4 MILLION                                            Sea                  $75 MILLION
          SSS                                                                       CLASS ACTION
                                                                     FINANCIAL
          MASS TORTS                                                 SERVICES        MASS TORTS



                                                                   $200 MILLION


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                                                                $200 MILLION
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           one of its attorneys are not barred, it does so by filing the complaint along with local counsel barred in that

           state.



          The results discussed        do not guarantee, warrant, or predict the results in future cases




           Injustice: Welcome to Wells Fargo
           McCune Wright Arevalo, LLP, (MWA) is fighting back against Wells Fargo’s predatory overdraft practices that

           unjustly punish customers living paycheck-to-paycheck. Although Wells Fargo thought they’d get away with

           slimy, pocket-lining policies by implementing arbitration-only clauses in their account agreements that

           forbid consumers from bringing class actions, MWA won't let them hide from justice.


           In June 2022, MWA - representing hundreds of clients who have been charged unfair overdraft fees in

           arbitrations against Wells Fargo —- secured the return of all overdraft fees charged within the past year plus

           a $1000.00 penalty for every client. * The best part? All of that money went right into our clients’ pockets

           with no charges for attorney's fees. And this is only the beginning.


           *Results not guaranteed         for all clients.




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           with no charges for attorney's fees. And this is only the beginning.


           *Results not guaranteed for all clients.




           MWA is Ready to Represent You.
           We're committed to taking on 100,000 new clients in their overdraft arbitrations against Wells Fargo. You may

           qualify to join the movement towards justice              if:


           m   You've been charged an overdraft fee on an ATM or debit card purchase in the past 12 months.

           m   You have an active Wells Fargo account.


          That's it. That's all you need to take your money back from a corporation well-known for using underhanded

           tactics to boost their bottom line and increase bonuses for executives at the top.




                    \\          Are you a victim of unfair overdraft fees? Join MWA       in the fight for justice by

                I         |     completing the form above.



           {insert fees section]




          A Moment of Clarity or Just Empty Words?
           On January 6, 2022, Wells Fargo ATMs in Irvine, California, displayed the word “INJUSTICE” on their welcome

           screens. Though we at MWA would like to think Wells Fargo used this as a moment for self-reflection on how

           their practices abuse their customers, we know, based on their history of scandals, that this corporation will

           only listen to its wallet.


           Here’s how MWA         is attaining justice out of Wells Fargo’s injustice beyond securing overdraft fees for our

           clients. Arbitrations brought by the consumer costs only $50.00 paid by the attorney while Wells Fargo pays a

           whopping $4,000.00, not including their attorneys’ fees! In short, bringing hundreds of thousands of

           arbitrations, each resulting in thousands paid by Wells Fargo, means consumers can finally hit one of the

           world's largest corporations where it hurts. Each of these thousands of arbitrations matters in holding Wells

           Fargo accountable.




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           arbitrations, each resulting in thousands paid by Wells Fargo, means consumers can finally hit one of the

           world’s largest corporations where it hurts. Each of these thousands of arbitrations matters in holding Wells

           Fargo accountable.




                   WX           Join MWA       as we say “game on” to Wells Fargo’s attempts to skirt accountability.

               l          !     Complete the form above to see if you qualify for an arbitration.




                                           Are you ready to bring arbitrations
                                              PTET Pee ey mv Bg
                                                     OS Ciba vam Cres




                                           —    Practice Area —                                       v


                                           — Are you a new client? —


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